        Case 1:13-cv-01036-GLR Document 96 Filed 01/17/20 Page 1 of 2



                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MARYLAND

KENNETH LUCERO

            Plaintiff                     Civil Action No.
                                                13-CV-01036-GLR
v.

WAYNE EARLY, et al.

            Defendants

                  JOINT STATUS/SETTLEMENT REPORT

      The parties report that the case has settled and request a Local Rule 111

Settlement Order with sixty (60) days to consummate settlement.

Respectfully submitted,

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                                    Page 1 of 2
       Case 1:13-cv-01036-GLR Document 96 Filed 01/17/20 Page 2 of 2




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                                   Page 2 of 2
